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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

                                              :
WILLIAM L. ALLEN, et al.                      :
                                              :
      v.                                      :         Civil No. CCB-11-33
                                              :
BANK OF AMERICA, N.A., et al.                 :
                                              :
                                              :



                                         ORDER

For the reasons stated in the accompanying Memorandum, it is hereby ORDERED that:



   1. The plaintiffs’ Motion for Leave to File Second Amended Complaint (ECF No. 74) is

      Granted;

   2. Defendant Bank of America et al.’s Motion to Exclude (ECF No. 79) is Granted in part

      and Denied without prejudice in part;

   3. Bank of America et al.’s Motion for Summary Judgment (ECF No. 80) is Granted in

      part and Denied in part;

   4. Defendant Western Union et al.’s Motion in Limine (ECF No. 81) is Denied as moot;

   5. Western Union et al.’s Motion for Summary Judgment (ECF No. 83) is Granted;

   6. The plaintiffs’ Cross Motion in Limine (ECF No. 95) is Granted in part and Denied

      without prejudice in part;

   7. The plaintiffs’ Cross Motion in Limine (ECF No. 96) is Denied as moot;

   8. The plaintiffs’ Cross Motions for Summary Judgment (ECF Nos. 97 & 99) are Denied;

   9. The plaintiffs’ Motion to Seal (ECF No. 111) is Granted;
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10. Counts I, II, III, V, and VII against defendant BANA remain pending in this case;

11. The Clerk shall send copies of this Order and the accompanying Memorandum to counsel

   of record; and

12. Counsel will be contacted to schedule further proceedings.



           3/19/13                                            /s/
   Date                                                Catherine C. Blake
                                                       United States District Judge
